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          In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1015V
                                       Filed: July 10, 2019
                                         UNPUBLISHED


    JESSICA BROWN,

                          Petitioner,                         Special Processing Unit (SPU);
    v.                                                        Ruling on Entitlement; Concession;
                                                              Causation-In-Fact; Influenza (Flu)
    SECRETARY OF HEALTH AND                                   Vaccine; Shoulder Injury Related to
    HUMAN SERVICES,                                           Vaccine Administration (SIRVA)

                         Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
petitioner.
Amy Paula Kokot, U.S. Department of Justice, Washington, DC, for respondent.

                                     RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

       On July 13, 2018, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that her receipt of an influenza (“flu”) vaccine on September 12,
2017, caused her to suffer a left-sided shoulder injury related to vaccine administration
(“SIRVA”). Petition at 1. The case was assigned to the Special Processing Unit of the
Office of Special Masters.




1The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).

2   National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
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        On July 1, 2019, respondent filed his Rule 4(c) report in which he concedes that
petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, respondent states that

        [T]he Division of Injury Compensation Programs (“DICP”) . . . [has]
        concluded that preponderant evidence establishes that petitioner’s flu
        vaccination on September 12, 2017, caused her to develop subacromial
        bursitis. In addition, based on the records . . . petitioner’s injury and its
        sequela persisted for more than six months after the administration of the
        vaccine.

Id. at 4.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master




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